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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


BANK of AMERICA N.A.,
                                                       JUDGMENT IN A CIVIL CASE
                                                       DEFAULT JUDGMENT
                                Plaintiff,
         v.                                            Case Number: 2:16-cv-00316-RFB-DJA
SOUTHERN HIGHLANDS
COMMUNITY ASSOCIATION, et al.,

                                 Defendants.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
that judgment is hereby entered in favor of SFR Investments Pool 1, LLC against Alejandro Fragoso.




         1/12/2021
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                              /s/ J. Callo
                                                             Deputy Clerk
